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             EXHIBIT 2
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From:            Houghton-Larsen, M Annie
To:              ryan.medrano@giulianipartners.com
Cc:              Nathan, Aaron E.; Governski, Meryl Conant
Subject:         Freeman v. Giuliani - Court Filing and Order and Subpoena
Date:            Thursday, November 14, 2024 6:16:32 PM
Attachments:     2024-11-14 MTC Ryan, Goodman, and Medrano For Service.pdf
                 2024.11.14 Order re MTC.pdf
                 2024-11-14 Combined 3P Subpoena - Ryan Medrano.pdf


Mr. Medrano,

We are not aware that you are currently represented in connection with this action, please direct
me to your attorney if that is incorrect.

I am attaching a motion to compel, the Court’s order regarding the same, and a subpoena to this
email. Please confirm your acceptance of service.

Thank you,
Annie


M.Annie Houghton-Larsen
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers
